                             IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

DOES                                                                                           PLAINTIFF

v.                               CASE NO. 4:22-CV-00167 BSM

BENTON SCHOOL DISTRICT                                                                       DEFENDANT

                                    FINAL SCHEDULING ORDER

       Pursuant to Rule 16(e) of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED:

1.     TRIAL DATE

This case is scheduled for a JURY TRIAL before Judge Brian S. Miller commencing at 9:30 a.m.
sometime during the week of October 30, 2023, in Courtroom #2D, Richard Sheppard Arnold United
States Courthouse, 500 West Capitol, Little Rock, Arkansas 72201. The case will be tried to a twelve
member (12) jury, unless the parties stipulate to a jury of six (6) members. Counsel are directed to file by
October 25, 2023, a statement indicating whether they agree to a six (6) member jury. If counsel wish to
bring electronic devices to the courthouse for any proceeding, please note General Order No. 54.

2.     DISCOVERY

Discovery should be completed no later than June 7, 2023. The parties may conduct discovery beyond
this date if all parties are in agreement to do so; but the Court will not resolve any disputes in the course
of this extended discovery. All discovery requests and motions must be filed sufficiently in advance of
that date to allow for a timely response. Witnesses and exhibits not identified in response to appropriate
discovery may not be used at trial except in extraordinary circumstances. The Court will not grant a
continuance because a party does not have time in which to depose a witness, expert or otherwise.

A discovery motion must not be filed until counsel has made a good faith effort to resolve the discovery
dispute. Upon the filing of such motion, a response should be filed promptly. A conference call will be
scheduled to resolve such matters if the Court deems it necessary.

3.     ADDITION OF PARTIES/AMENDMENT OF PLEADINGS

Leave to add parties or amend pleadings must be sought no later than May 8, 2023.

4.     STATUS REPORT

A status report must be filed with the Clerk’s office on or before July 3, 2023. The report must include
the date and results of any settlement conference, the settlement prospects, and an estimate of the length
of trial.

5.     MOTION DEADLINE

All motions, except motions in limine, must be filed on or before July 3, 2023. Motions for summary
judgment must comply with Fed. R. Civ. P. 56 and Local Rules 7.2 and 56.1. In addition, parties are
directed to submit a courtesy copy of the motion for summary judgment, responses, replies, and supporting
briefs and exhibits to chamber. Motions in limine must be filed on or before October 20, 2023, and
responses must be filed five (5) calendar days thereafter. Motions submitted after the deadline may be
denied solely on that ground.

Local Rule 7.2(b) provides: “Within fourteen (14) days from the date copies of a motion and supporting
papers have been served upon him, any party opposing a motion shall serve and file with the Clerk a
concise statement in opposition to the motion with supporting authorities. A party moving for summary
judgment will have seven (7) days to file a reply in further support of the motion.” The Court may or may
not wait on the filing of a reply before ruling on the motion. No surresponse or surreply will be permitted.

6.     FORMAT OF SUMMARY JUDGMENT STATEMENT OF FACTS

In opposing a motion for summary judgment, the non-moving party shall format his or her statement of
disputed (and undisputed) material facts pursuant to Local Rule 56.1. The non-moving/opposing party
shall respond paragraph by paragraph to the statement of undisputed material facts submitted by the
moving party. The responsive portion of the non-moving opposing party's statement shall repeat the
statement verbatim as set forth in the moving party's statement and respond to it by admitting the statement
or pointing out that portion of the statement, if any, he or she disputes. The non-moving/opposing party
will state with particularity that portion of the allegation denied, citing to any evidentiary support for the
denial. For example:

Moving Party:         1. Plaintiff began working for Defendant Employer on March 1, 2016.
Response:     1. Plaintiff admits that Plaintiff began working for Defendant Employer on March 1, 2016.

7.     PRETRIAL DISCLOSURE SHEET [FED.R.CIV.P. 26(a)(3)]

Pretrial disclosure sheets must be filed simultaneously by the parties according to the outline contained in
Local Rule 26.2 with copies to the Courtroom Deputy, Laura Bichlmeier, and opposing counsel no later
than September 29, 2023. The Court's requirement that witnesses and exhibits must be listed on the
pretrial information sheet does not relieve a party of the obligation to provide the names of witnesses and
exhibits in response to discovery requests.

8.     DEPOSITIONS TO BE USED AT TRIAL OTHER THAN FOR IMPEACHMENT

The proffering party must designate the pertinent portions of a deposition to be used as evidence at trial
by September 29, 2023. Counter-designations must be made by October 9, 2023. Objections to any
deposition or videotapes that will be used at trial must be made by written motion indicating the specific
objection and its legal basis by October 12, 2023, with the response due October 16, 2023. Depositions
to be read at trial must be marked as exhibits.

9.     JURY INSTRUCTIONS AND STATEMENT OF CASE

The parties must confer regarding the proposed instructions in an attempt to narrow areas of disagreement
and must submit an AGREED set of instructions on specific issues in the case to the Court on or before
October 20, 2023. Standard instructions from AMI, Eighth Circuit or Federal Jury Practice and
Instructions (Latest Edition), as applicable, should be used whenever possible and should be noted at the
end of each instruction. A party requesting an instruction that cannot be agreed upon must submit that
instruction to the Court and to opposing counsel, setting out the disagreement by the same date.
Instructions must be submitted in WordPerfect or Word format electronically to
bsmchambers@ared.uscourts.gov.
Each party must submit to the Court by that same date a concise statement of the case, no more than one
page in length, that it proposes would be proper to read to the panel of venire persons during voir dire,
and also any proposed voir dire questions it wishes the Court to pose to the panel.

10.    STIPULATIONS

The parties should stipulate in writing to the facts not in controversy on or before October 25, 2023.

11.    INTRODUCTION OF EXHIBITS

All exhibits must be listed on the enclosed form in numerical sequence. Exhibits must be made available
to all parties and reviewed by counsel prior to the trial date. The lists must be submitted to the Courtroom
Deputy 30 minutes prior to trial, with notations made on the Court’s copy noting exhibits to which there
is an objection. The Court will receive all stipulated exhibits at the beginning of the trial.

12.    CONFLICTS OF INTEREST

Counsel must promptly check the Court’s list of financial interests on file in the U.S. District Clerk’s
Office to determine whether there is any conflict that might require recusal. If any party is a subsidiary
or affiliate of any company in which the Court has a financial interest, bring that fact to the Court’s
attention immediately.

Please communicate with Laura Bichlmeier, Courtroom Deputy, at 501-604-5404, or
laura_bichlmeier@ared.uscourts.gov, to ascertain your position on the calendar as the trial date
approaches. In the event of settlement, advise Ms. Bichlmeier immediately. The case will not be removed
from the trial docket until an order of dismissal has been entered.

Dated July 19, 2022

                                                     AT THE DIRECTION OF THE COURT
                                                     TAMMY H. DOWNS, CLERK

                                                     By: Laura Bichlmeier
                                                         Courtroom Deputy
                                        MEMORANDUM


TO:            Lawyers
FROM:          Judge Miller
RE:            Guidelines for Jury Trials
Please keep in mind the following:
1.        In cases where there is a jury demand, twelve (12) jurors will be impaneled, unless the parties
          stipulate to six (6) jurors.

2.        Be prepared, during the court portion of the voir dire, to stand and call out the names of each
          of your witnesses, as well as your client(s) or representative of your party.

3.        Lawyers will be permitted to voir dire the jury with these guidelines:

          a.      Ask questions of the entire panel, unless there is a reasonable ground for singling out
                  an individual juror.

          b.      Do not use voir dire to argue the case or commit the jury to your theory of the case.

          c.      If you want to challenge a juror during voir dire, please feel free to request a bench
                  conference to make the challenge.

          d.      If there are questions you would prefer that the Court ask, please advise.

          e.      Batson challenges: party whose strike is overruled by Batson challenge will be given
                  another strike.

4.        Objections and motions in front of the jury should be spare and to the legal point.

5.        Speaking objections and sidebar comments are inappropriate.

6.        Please stand when you speak.

7.        Jury Instructions:

          a.      Instructions proposed by each party prior to trial, pursuant to the Court’s Scheduling
                  Order, are considered by the Court in formulating the Court’s own set of Proposed
                  Instructions, but are not considered proffered instructions which become part of the
                  record.

          b.      Prior to the on-the-record instruction conference with me, the law clerk assigned to the
                  case may review the Court’s proposed set of instructions with lawyers for both parties.
                  Lawyers may relate any objections or requests for modifications or additional
                  instructions to the law clerk at this time in attempting to work out any problems prior
                  to the final instruction conference; however, lawyers are responsible for making
            objections and proffering any changes or additional instructions that they wish to
            become a part of the record during the on-the-record instruction conference.

     c.     In all civil cases, Court will instruct before arguments.

8.   Stipulate to all exhibits about which there is no dispute and which exhibits can be used during
     opening statements.

9.   Arrange for appearance of witnesses so that it will not be necessary to adjourn before 5:00 p.m.
     for lack of available witnesses.
 ✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                       UNITED STATES DISTRICT COURT
                        EASTERN                                                   DISTRICT OF                                            ARKANSAS


                                                                                                                 EXHIBIT AND WITNESS LIST
                   DOES
                    V.
          BENTON SCHOOL DISTRICT                                                                                       Case Number: 4:22-CV-00167 BSM

PRESIDING JUDGE                                                            PLAINTIFF’S ATTORNEY                                     DEFENDANT’S ATTORNEY

                      Brian S. Miller
TRIAL DATE (S)                                                             COURT REPORTER                                           COURTROOM DEPUTY
                      October 30, 2023                                                                                              Laura Bichlmeier
PLF.      DEF.           DATE
NO.       NO.           OFFERED            MARKED         ADMITTED                                               DESCRIPTION OF EXHIBITS* AND WITNESSES




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.
                                                                                                                                     Page 1 of            Pages
✎AO 187A (Rev. 7/87)      EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                 CASE NO:
                DOES               vs.        BENTON SCHOOL DISTRICT
                                                                                         4:22-CV-00167 BSM
PLF.    DEF.     DATE
                          MARKED   ADMITTED                   DESCRIPTION OF EXHIBITS AND WITNESSES
NO.     NO.     OFFERED




                                                          Page_____________ of _____________ Pages
(Post 09/2015) Notice Regarding Magistrate Judge Consent Program (ARED rev. 7/6/2021)


                                UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF ARKANSAS
                                                       CENTRAL DIVISION

                              DOES                                         )
                              Plaintiff                                    )
                                 v.                                        )       Case No.   4:22-CV-00167 BSM
            BENTON SCHOOL DISTRICT                                         )
                             Defendant                                     )


                                             MAGISTRATE JUDGE CONSENT PROGRAM
                                              (MANDATORY RESPONSE REQUIRED)


         Enclosed you will find a form titled Notice, Consent and Reference of a Civil Action to a United States
Magistrate Judge. If the parties consent, a Magistrate Judge will conduct all further proceedings in this case,
including trial and entry of final judgment, with direct review by the United States Court of Appeals if an appeal
is filed.

      Consent to proceed before a Magistrate Judge is entirely voluntary. There will be no adverse, substantive
consequences if you do not consent. Even if you do not consent, under Local Rule 72.1, however, a Magistrate
Judge will still handle all non-dispositive pretrial motions in your case until ten days before trial.

       You must return the Consent Form to the Clerk of Court’s office within 21 days indicating whether
or not you consent.

                                                                        TAMMY H. DOWNS, CLERK




Mail Attached Form To: Clerk of Court
                       United States District Court
                       Eastern District of Arkansas
                       600 West Capitol Avenue, Room A-149
                       Little Rock, Arkansas 72201
(Post 09/2015) Notice, Consent and Reference of a Civil Action to a Magistrate Judge


                                  UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF ARKANSAS
                                                         CENTRAL DIVISION
                               DOES                                             )
                                Plaintiff                                       )
                                   v.                                           )      Case No.   4:22-CV-00167 BSM
            BENTON SCHOOL DISTRICT                                              )
                               Defendant                                        )

                                    NOTICE, CONSENT AND REFERENCE OF A CIVIL ACTION
                                             TO MAGISTRATE JUDGE KEARNEY
                                            (MANDATORY RESPONSE REQUIRED)

        Notice of a Magistrate Judge’s availability. A United States Magistrate Judge of this court is available to conduct all
proceedings in this civil action and to order the entry of a final judgment. The judgment may then be appealed directly to the United
States Court of Appeals like any other judgment of this court. A Magistrate Judge may exercise this authority only if all parties
voluntarily consent.

        You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be
involved with your case.

        You must return this form to the Clerk of Court's office within 21 days from date of this notice regardless of whether
or not you are consenting to the exercise of jurisdiction by a United States Magistrate Judge.

         Election to have case remain with a United States District Judge

         Consent to a Magistrate Judge’s authority. The following parties consent to have a United States Magistrate Judge
          conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

               Parties’ printed names                                    Signatures of parties or attorneys                       Dates




                                                                       Reference Order

        IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order
the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                     District Judge’s signature




                                                                                                       Printed name and title
